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                INSTITUTE FOR CONSTITUTIONAL ADVOCACY AND PROTECTION
                          GEORGETOWN UNIVERSITY LAW CENTER

                                                         Ben Gifford

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                                         Application granted. The Clerk of Court is
                                         respectfully requested to terminate Amy L.
June 10, 2024                            Marshak as counsel in this action.

Via ECF
                                         SO ORDERED.

The Honorable Philip M. Halpern          _______________________
United States District Judge             Philip M. Halpern
Southern District of New York            United States District Judge
300 Quarropas Street
White Plains, New York 10601             Dated: White Plains, New York
                                                June 11, 2024
Re: Students for Fair Admissions v. United States Military Academy at West Point, et al., No.
                                    23 Civ. 8262 (PMH)

Dear Judge Halpern,

        The Institute for Constitutional Advocacy and Protection (ICAP) represents Amici 107
West Point Graduates in this matter. We write to inform the Court that Amy L. Marshak is no
longer affiliated with ICAP and to request that she be permitted to withdraw her appearance in
this action. I will continue to serve as counsel in this case.


                                                    Respectfully submitted,



                                                    /s/ Ben Gifford


                                                    Cc: Counsel for all parties, by ECF
